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THE UN|TED STATES D|STR|CT COURT
FOR THE M|DDLE D|STR|CT OF FENNSYLVAN|A

JACOB ANDERSON

P|aintiff :

v. : 3:12-CV-2486
' (JUDGE MAR|AN|)

AB|NGTON HE|GHTS SCHOOL
D|STR|CT, et a|.

Defendants

ORDER

AND NOW, TH|S ZZ § DAY OF DECEMBER, 2017, upon consideration of
P|aintiff’s Motion for Partia| Summary Judgment (Doc. 93) and Defendants’ Motion for
Summary Judgment (Doc. 96), for the reasons set forth in the accompanying memorandum
opinion, |T IS HEREBY ORDERED THAT:

1. P|aintist Motion for Partia| Summary Judgment (Doc. 93) is DEN|ED.

2. Defendants’ Motion for Summary Judgment (Doc. 96) is GRANTED in its entirety.

3. Judgment is hereby entered lN FAVOR OF Defendants Abington Heights Schoo|
District, Michae| Mahon, Ph.D., Michae| E|ia, Eduardo Antonetti, and Brian Ke||y and
AGA|NST P|aintiff Jacob Anderson.

4. The C|erk of Court is directed to CLOSE the above-captioned action.

 

 

   

kobeFFU. arlani
United States District Judge

